Case 3:20-cv-06754-WHA   Document 829-9   Filed 06/29/23   Page 1 of 11




                  Exhibit 7
6/29/23, 2:00 AM   Case 3:20-cv-06754-WHAGoogleDocument
                                                Home Mini vs.829-9
                                                             Google NestFiled  06/29/23
                                                                        Mini: What                Page 2 of 11
                                                                                   Are the Differences?



                                                                                                                       Newsletter



   HOME  SMART HOME


   Google Home Mini vs. Google Nest Mini: What Are the
   Differences?
   We're examining the differences between the smallest Google smart speakers.
   BY SIMONA TOLCHEVA      UPDATED AUG 31, 2022




   Readers like you help support MUO. When you make a purchase using links on our site, we may earn an affiliate commission. Read
   More.



   When looking for an inexpensive smart speaker from Google, you'll come across two options
   —the Google Home Mini and Google Nest Mini.


   The Nest Mini is the successor to the Home Mini which was discontinued but is still available
   to purchase at many outlets.


   We'll compare the Google Home Mini and Google Nest Mini to help you decide which device is
   best for you.



https://www.makeuseof.com/google-home-mini-nest-mini/                                                                               1/10
6/29/23, 2:00 AM   Case 3:20-cv-06754-WHAGoogleDocument
                                                Home Mini vs.829-9
                                                             Google NestFiled  06/29/23
                                                                        Mini: What                Page 3 of 11
                                                                                   Are the Differences?

   Google Home Mini and Google Nest Mini: Design
       Link copied to clipboard




   Google Home Mini is a voice-controlled audio speaker. It plays music, controls smart home
   devices, responds to trivia questions, adds items to your shopping list, creates appointments,
   manages your schedule, and more.


   You can even use it to locate misplaced phones with Google Assistant.


   The Google Home Mini is donut-sized and allows users to link it to their smartphone. It's a
   small disk covered with a piece of fabric. On top, the Home Mini features four LED dots
   signaling the running functions, listening, and initiating setup.




https://www.makeuseof.com/google-home-mini-nest-mini/                                                            2/10
6/29/23, 2:00 AM   Case 3:20-cv-06754-WHAGoogleDocument
                                                Home Mini vs.829-9
                                                             Google NestFiled  06/29/23
                                                                        Mini: What                Page 4 of 11
                                                                                   Are the Differences?



       Link copied to clipboard




   The Google Nest Mini is the successor of the Google Home Mini. It's affordable and
   considered Google's current entry-level smart speaker.


   It has a similar design and language to the Google Home Mini. Its top is covered with a
   durable fabric layer that comes from 100 percent recycled plastics. It has some controls on
   the right and the left side for changing audio volume.




   The Nest Mini has LED lights illuminating the center when Google Assistant is in action. When
   you tap the center top, the music pauses. It looks similar to Google Home Mini in size, but the
   new version has a wall mount, which is quite convenient.


   Naturally, the Nest Mini also features a number of improvements.


   Google Home Mini and Google Nest Mini: Similarities

   The two smart speakers share many similarities. The devices respond to both voice and
   manual controls, play music, have Google Assistant, and more.




https://www.makeuseof.com/google-home-mini-nest-mini/                                                            3/10
6/29/23, 2:00 AM   Case 3:20-cv-06754-WHAGoogleDocument
                                                Home Mini vs.829-9
                                                             Google NestFiled  06/29/23
                                                                        Mini: What                Page 5 of 11
                                                                                   Are the Differences?

   The design of both speakers is almost identical as they are the same size and have a fabric
       Link copied to clipboard
   covering. The major difference is that the Nest Mini features recycled materials.


   Both speakers come with the same color choices: chalk, charcoal, coral, and sky.


   The microphone switch on both models enables you to turn off active listening, allowing you
   to stop Google Assistant from continuously listening for the activate command.


   Google Home Mini and Google Nest Mini: Differences

   The speakers are obviously similar, but there are some important differences.




   The main difference between the devices is the unique factory reset method. To reset the
   Google Nest Mini, you have to switch off the microphone. Then, once the LED lights turn
   orange, you must press and hold the speaker's center. After five seconds of doing that, the
   factory reset process begins. At that point, continue holding it for at least 10 seconds more
   until you hear a sound confirming your speaker is resetting.


   The Google Home Mini has a tiny reset button below the power cord that the user can hold
   down to reset it. And, same as with the Nest Mini, the reset process begins in 5 seconds, and
https://www.makeuseof.com/google-home-mini-nest-mini/                                                            4/10
6/29/23, 2:00 AM   Case 3:20-cv-06754-WHAGoogleDocument
                                                Home Mini vs.829-9
                                                             Google NestFiled  06/29/23
                                                                        Mini: What                Page 6 of 11
                                                                                   Are the Differences?

   after 10 more follow, you hear the confirmation sound that the reset is in progress.
       Link copied to clipboard


   That's the only way to do a factory reset on both devices, as you can't use voice commands or
   the Google Home app for the task for either of them.

       Google Nest Mini wall mount




   Google Nest Mini's speakers also produce a higher-quality sound compared to the older
   model.


   Another feature only found on the Nest Mini is ultrasound sensing technology. When audio is
   playing, the volume LEDs illuminate when your hand is nearby. It manages this by emitting tiny
   inaudible chirps bouncing off nearby objects that reflect onto the microphones.


   On the Google Nest Mini, you can play or pause music by tapping its top button. The Home
   Mini doesn't have that option.


   Google Home Mini and Google Nest Mini: Pricing




https://www.makeuseof.com/google-home-mini-nest-mini/                                                            5/10
6/29/23, 2:00 AM   Case 3:20-cv-06754-WHAGoogleDocument
                                                Home Mini vs.829-9
                                                             Google NestFiled  06/29/23
                                                                        Mini: What                Page 7 of 11
                                                                                   Are the Differences?
       Google Nest Mini price

       Link copied to clipboard




   Just like the Google Home Mini, the Nest Mini retails for the same $49 price tag. That makes it
   the most affordable Google-powered smart speaker available.


   Since the Nest Mini was designed to replace the Home Mini, finding the older speaker is a
   challenge. But it's still available to purchase at some retailers.



   Both speakers often receive nice discounts and can be found for as low as $30. So if you can
   wait, you can save some cash.


   Google Home Mini and Google Nest Mini: Google Assistant




https://www.makeuseof.com/google-home-mini-nest-mini/                                                            6/10
6/29/23, 2:00 AM   Case 3:20-cv-06754-WHAGoogleDocument
                                                Home Mini vs.829-9
                                                             Google NestFiled  06/29/23
                                                                        Mini: What                Page 8 of 11
                                                                                   Are the Differences?
       Google Home mini

       Link copied to clipboard




   Google Home Mini and Google Nest Mini both sport Google Assistant to help you control
   smart home devices.


   You can also connect either smart speaker to a wide variety of smartphones, including iOS
   and Android models.


   Google Assistant can do quite a lot for you. The powerful voice assistant can answer general
   knowledge questions, check your emails, manage appointments, and so much more. You can
   also create routines and commands.


   Both speakers can also make calls in the United States and Canada, which is a great plus.


   Since they're both speakers, naturally, you can also play music with streaming services like
   Spotify, Pandora, and others.




https://www.makeuseof.com/google-home-mini-nest-mini/                                                            7/10
6/29/23, 2:00 AM   Case 3:20-cv-06754-WHAGoogleDocument
                                                Home Mini vs.829-9
                                                             Google NestFiled  06/29/23
                                                                        Mini: What                Page 9 of 11
                                                                                   Are the Differences?
       Google Nest Mini commands

       Link copied to clipboard




   The Nest Mini stands out a bit since it's updated to support Bluetooth 5 and provide a more
   stable connection when you're playing wireless music from your smartphone.


   Using Google Assistant, both the Home Mini and Nest Mini can be used to pull up a YouTube
   video over your Chromecast-enabled TV. Voice commands can also help you control
   compatible smart home devices like smart lights, smart switches, and security cameras. You
   can connect both smart speakers to Wi-Fi and be up and running in just a few minutes.


   Apart from the improved sound quality, the Google Nest Mini also boasts improved bass
   power, doubling that of the Google Home Mini. The bass comes from a customized 1.57- inch
   driver designed to gather the bass frequencies and project them forward to the sound stage.



   Deciding Between the Google Home Mini or Nest Mini

   The Google Nest Mini is a clear upgrade of the Google Home Mini.


   It provides a better overall audio experience with improved sound quality and bass. The Nest
   Mini delivers a much better sound that's more precise and natural and adds to your music
   experience.


   The newer model is both wall-mountable and eco-friendly. It boasts ultrasound technology to
   help you easily interact with the volume controls. You can even pair two Nest Mini speakers
   and create a stereo sound system.

https://www.makeuseof.com/google-home-mini-nest-mini/                                                            8/10
6/29/23, 2:00 AM Case 3:20-cv-06754-WHAGoogle
                                          Document        829-9
                                              Home Mini vs. Google NestFiled   06/29/23
                                                                        Mini: What               Page 10 of 11
                                                                                   Are the Differences?

   If you want a Google smart speaker, you might as well go for the new and improved model.
      Link copied to clipboard


   And no matter what Google speaker you select, you can put it to good use in your daily life and
   even help plan your day.



                                                          Subscribe to our newsletter




               Comments                                                                                                  


          RELATED TOPICS
           SMART HOME          GOOGLE        NEST       SMART SPEAKER



          ABOUT THE AUTHOR
          Simona Tolcheva
          (163 Articles Published)

          Simona is a writer at MakeUseOf, covering various social media and internet-related topics. She has worked as a professional
          writer for over seven years, covering IT news and cybersecurity. Writing full-time is a dream come true for her.




   POLL

   Which do you find more fascinating: nature or technology?

           I’m more fascinated by nature


           I’m more fascinated by technology


           Nature and technology are equally fascinating


                                                        Vote                                                           View Results


                                               Discuss This Poll

https://www.makeuseof.com/google-home-mini-nest-mini/                                                                                    9/10
6/29/23, 2:00 AM Case 3:20-cv-06754-WHAGoogle
                                          Document        829-9
                                              Home Mini vs. Google NestFiled   06/29/23
                                                                        Mini: What               Page 11 of 11
                                                                                   Are the Differences?



      Link copied to clipboard


                       ARTIFICIAL INTELLIGENCE                                                   NETFLIX


                       The 6 Best Alternatives to ChatGPT
                       17 hours ago



                       How to Use the Magic Write Tool in Canva
                       19 hours ago



                       5 Reasons Why Companies Are Banning ChatGPT
                       2 days ago




                                                                See More




        Write For Us       Home       Contact Us   Terms   Privacy   Copyright   About Us    Fact Checking Policy   Corrections Policy


                            Ethics Policy    Ownership Policy   Partnership Disclaimer   Official Giveaway Rules


                                                    Copyright © 2023www.makeuseof.com




https://www.makeuseof.com/google-home-mini-nest-mini/                                                                               10/10
